   Case 22-11061-elf             Doc 14-6 Filed 05/16/22 Entered 05/16/22 12:43:48            Desc
                                        Service List Page 1 of 1


                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:                                               :    CHAPTER 13
                                                     :
DILRUBA ISLAM                                        :    Bankruptcy No. 22-11061-elf
                                                     :
                                              Debtor :

                                       CERTIFICATION OF SERVICE

         The undersigned hereby certifies that on May 16, 2022, I caused a true and correct copy

of the Motion of Excel Financial Corp. for Relief from the Automatic Stay pursuant to 11 U.S.C.

§ 362(d) and Federal Rule of Bankruptcy Procedure 4001(a) to be served as follows:

Via the Court’s CM/ECF System and First-Class Mail:

Mark A. Cronin, Esquire                                  Kenneth E. West, Chapter 13 Standing Trustee
Law Offices of Mark A. Cronin                            Office of the Chapter 13 Standing Trustee
26 S. Church Street                                      1234 Market Street, Suite 1813
West Chester, PA 19382                                   Philadelphia, PA 19107

United States Trustee
Office of United States Trustee
200 Chestnut Street, Suite 502
Philadelphia, PA 19106

Via First Class Mail:

Ashraful Islam
407 W. Main Street, #409
Lansdale, PA 19446

Via the Court’s CM/ECF System:

All Parties Requesting Notice Pursuant to Bankruptcy Rule 2002



                                                   __________________________________________
                                                   Leona Mogavero, Esquire
                                                   Friedman Schuman, P.C.
                                                   275 Commerce Drive, Suite 210
                                                   Fort Washington, PA 19034
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{Client Files/005696/00106/01568212.DOCX;1}
